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Character Letter for J. Riggs Submitted by Kayla Riggs (Wife)

﻿To: The Honorable Stephanie A. Gallagher, United States District Judge
Purpose: Character Letter for J. Riggs


       My name is Kayla L. Riggs, wife of Justin E. Riggs. I am currently employed by
Washington County Public Schools where I am a School Counselor (M.Ed); I just
completed my seventh year at Smithsburg Elementary. I was previously employed with
Wicomico County Public Schools for five years. I have known Justin for a total of 17 years
- we began a romantic relationship in 2008, and then married in 2016. Justin and I have
two children together, ages 5 and 7. The purpose of this letter is to provide an account of
Justin’s character, share insight on the impact of his incarceration, and encourage
consideration for a shorter sentence.
       Justin is a hard-working individual, someone who views others and the world in a
positive lens, a person who will help anyone without hesitation, and one who takes
accountability and learns from his mistakes. Apart from the six months that Justin was in
the Police Academy, he has had at least two jobs at a time since he was young enough to
be legally employed. These jobs ranged from Weis Markets as a teenager, umpiring
throughout his teenage years and early twenties, Golden Corral while in college, the State
Police, working for his Dad’s landscaping and tree removal company, and finally owning
his woodworking business. Characteristics that run deep in his family, Justin is
hard-working and productive - he does not know how to be complacent and not
accomplish tasks. He is one of the most disciplined people that I know - he does not take
off work, he puts his full effort into everything that he does, and is always trying to learn
more about whatever his current endeavor is. While in the State Police, Justin earned many
accolades including Trooper of the Year. He also accepted overtime opportunities on a
frequent basis. These characteristics of hard work and productivity are likely evident in all
that Justin has been involved in at the Howard County Department of Corrections: painting
murals, teaching art classes, assisting in the mental health unit, cutting hair in the
barbershop, leading a cleaning crew, and more.
       As stated, Justin also had a positive nature, finding the silver lining in almost every
situation and always seeing the good in people. Despite the depression, isolation, shame,
and deep remorse he experiences daily while incarcerated, when you speak to him he also


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seems to have found a few positive takeaways from the situation. One of those takeaways
is he feels stronger in his faith and relationship with God. He feels a deeper appreciation
for important things in life such as time spent with family. Lastly, he has been reminded of
other interests that he possesses such as artistic creativity and expression. He speaks kindly
about the other inmates and has a nonjudgmental attitude towards them and their
individual circumstances. I believe this quality will allow him to truly make the best of his
life and future upon release.
          Justin, like other members of his family, has an innate ability to help others without
being asked or without hesitation. Justin has volunteered in many Mission Trips with his
church, was teaching Sunday School for the high school-aged kids, has volunteer-coached
our son’s soccer team and baseball team, and is always a reliable friend to call upon in any
situation from car trouble to moving to house repairs. Justin would put money in the
offering plate at church every Sunday, even when we were young adults with little money
to spare. Recently, Justin shared that he is putting small drawings with encouraging notes
into the pages of books at the library at the Correctional Facility, in the hopes that when
another inmate opens the book they feel a little joy. That is an example of actions that
Justin would routinely take in an effort to help others without needing acknowledgement
or praise. I believe Justin will be leaving incarceration with a renewed mission to help
others.
          Justin takes accountability and learns from his mistakes. I do believe that Justin is
remorseful for his crime. When speaking to Justin, it is clear that he acknowledges the
significance of his choices and the impact that they had on others. He expresses that he lost
sight of himself and what was right. He has written apology letters to almost everyone in
his life.The last 2 and ½ years have given him the time and space to self-reflect and grow
as a person. The intention to never be away from his children again will also be a central
reason for him to never break the law in the future.
          I think it is safe to assume that everyone in law enforcement experiences some
level of trauma. Some of the experiences that he had during his time in the State Police
likely were harmful to his mental health - seeing loss of life with both adults and children,
responding to horrific accidents, witnessing drug use and abuse, assisting with suicidal
ideation (including finding the deceased), and meeting physical and/or verbal resistance


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when arresting citizens. I often feared for his mental health knowing the traumatic events
he was witnessing over a course of time. It is important to note that during his
incarceration Justin has reflected on this concept - the idea that his experiences could have
negatively impacted his mental health - and he acknowledges that he should have sought
help to properly deal with the trauma that accumulated for him while in that role. A major
area of growth I have seen from Justin is his acknowledgement that mental health does
matter, and is important, and if perhaps he had sought help sooner than maybe his choices
would have been different. Justin has already expressed that he will be continuing therapy
when he is no longer incarcerated.
       Justin was and is an exceptional father to our children. He never missed any of
their activities from sporting events, to school/daycare events, to simple outings. We
shared all responsibilities equally from bathing, to cooking meals, to laundry, to medical
appointments. The children admire him, respect him, and can learn so much from him.
They miss him every day and have experienced a major loss in his absence. They both
need their father present in their lives. Justin was an active member of the church
community - he has belonged to the same church his entire life and has lifelong ties with
many of the church members. He has stayed in touch with members of the church through
his incarceration, and the church has wrapped their arms around the children and myself in
love and support. Justin is very close with his extended family, and has stayed in
communication with them throughout the last 2 and ½ years. The children and I have
continued to attend the monthly gatherings with Justin’s extended family throughout his
incarceration, and our children have a sleepover at Justin’s parents house almost every
Saturday night. Upon release, Justin will be returning to a supportive group of people from
immediate family, to extended family, to friends, to his church community.
       The impact of Justin’s incarceration on his immediate family is monumental. The
children have experienced a 2 and ½ year absence from their father currently.
Unfortunately, this absence has occurred at a very critical developmental age for both
children - our daughter being 2 years and 11 months, and our son being 3 years and 7
months, at the time of his arrest. The arrest was overnight, literally, to the children who
went to bed saying goodnight to their father only to wake up the following day to his
absence - they have not seen him since that night. The children were placed into therapy


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approximately one month after Justin’s arrest - therapy that must be paid out of pocket,
$95 per child per session. That is a financial burden that I really cannot take on with my
salary, however a choice I felt was necessary to aid the children through this traumatic
event. Justin speaks with the kids via phone and video call every week, and he sends them
drawings on a consistent basis. However, his absence is truly felt by the children. He was
involved in every aspect of their daily life (cooking their meals, coaching their sports,
taking them to appointments, bathing them, and involving them in church), and to have
that immediately disappear has been detrimental to the children’s wellbeing. Research
shows the negative impacts on a child when one parent is absent, particularly the impact
on a same-sex child, so our hope is that Justin can receive a short sentence and return to
his children sooner.
       Arguably the second greatest impact on Justin’s immediate family is financial.
Immediately upon his arrest, I had to take on health insurance for myself and the children.
I had to sell our home as my single salary alone could not cover the mortgage. I now rent a
house that is $1,850 a month - it was a challenge to find housing at that price, however
with the goal of keeping changes as minimal as possible for the children, I wanted to stay
in this area and keep the children in the same school. $1,850 is still too high for my income
alone. I had to sell various assets including: tractor, 4-wheeler, Justin’s vehicle, and
motorcycle. I was no longer able to keep the children in the daycare center that they have
attended for several years. Justin has always been a hard-worker, and has been employed
for the entire 17 years I have known him. Despite new challenges he may face finding
employment, I am certain that Justin will secure employment upon release, and can then
begin contributing back to our family financially as well as to society. Again, with the
children at the forefront of both of our minds, we need two incomes to raise the children
happily and healthily. The number of initiatives and programs that Justin has been
involved in at Howard County Department of Corrections should speak to his work ethic
and provide the court reassurance that Justin will seek employment upon release.
       I strongly stand behind the sentiment that Justin is a good person, with a bright
future, who made a life-altering mistake. I believe the way that he has used his time at
Howard County Department of Corrections the last 2 and ½ years indicates the kind of
person that he is, and suggests the contributing member of society he will be upon release.


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I am encouraging a shorter sentence so that Justin can return home to his family, most
importantly his two young children, and to his church community. Additionally, I
encourage a shorter sentence so he can seek employment and be a productive citizen.


Respectfully,




Kayla Riggs




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January 6th, 2025

To whom it may concern,

I am writing this character letter on behalf of Justin Riggs.

Over the course of his two-year incarceration, I have had the privilege as an Associate Chaplain here at the Howard County
Detention Center (HCDC), to observe Justin in various settings, as well as meeting with him weekly for individual coaching
and counseling. During this time, I can truly say I have seen him genuinely demonstrate how a man can ﬁnd himself at his
absolute lowest, and then by the grace of God be able to be changed from within and begin to serve others out of gratitude
and love for what has been done for him.

The man I now know, and who is aLirmed by many others at HCDC, is a man of extreme integrity and someone who has a
strong sense of moral values which he consistently lives out in a very purposeful and intentional way.

During these past 104 weeks, I have had the opportunity to have numerous deep, heartfelt, and transparent life
conversations with Justin; especially as he faced many unique challenges on a daily basis. Like most people, Justin has
had to not only claim his values but has been given countless opportunities to live them out. It is only through the testing of
these values through both successes and failures has his “ethical metal” been genuinely tested. Although we may all fail
at times, I believe the true integrity of a person can be seen by how they take responsibility for their failures and allow
themselves to grow and be reﬁned by them. Justin has proven himself to be such a person.

As a retired military oLicer of over 30 years; a senior Government leader; an Adjunct Professor; a church ministry leader,
and an Intern Chaplain at three of our county correctional facilities, I have had the opportunity to counsel, mentor and
develop men and women both locally and around the world at various levels and in various challenging environments and
circumstances.

Based on this experience, I can with great conﬁdence state that Justin is someone who has allowed himself to grow and
learn from his life experiences, and as such, is now an individual of great character, maturity, sound judgement and
integrity. I believe when released, he will continue to excel in each endeavor he is presented. Especially as he strives to
continue to build on a solid foundation of his love for his merciful and forgiving God, his family and his friends.

Respectfully,
Ronald R. Stimeare
Colonel, United States Army (Ret)
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Character Letter for J. Riggs Submitted by Linda Boring (Mother-In-Law)

﻿To: The Honorable Stephanie A. Gallagher, United States District Judge
Purpose: Character Letter for J. Riggs


       My name is Linda Boring and I am writing a letter of character for Justin Riggs. I
am a retired High School Science Teacher, a Mother, and a Grandmother. Justin Riggs is
the husband of my Daughter, Kayla Riggs, and the Father of my Grandchildren,              and
       Riggs. I have known Justin for 17 years.
       Justin has many positive character traits. He is hardworking, perhaps the most
hardworking person I know. He worked hard to put himself through college. He worked
hard in the Police Academy, and he worked extremely hard as a Maryland State Trooper,
earning many accolades. Even in the Correctional Facility, he is working hard at the
Barber Shop, painting murals, and giving art lessons to other inmates. Justin is also a very
positive and optimistic person. He always sees the good in situations and in others. He is
kind and caring, and ever devoted to his family.
       Justin is a Son, a Brother, an Uncle, and a beloved member of the Riggs Family.
His relationship with his family is great; he is a devoted Son and a cherished Brother. He
has a great relationship with his entire extended family and never misses their monthly
family gatherings. He delights in spending time with them.
       Justin is a father. He was so happy to become a Father. He was at both of his
children’s births and was involved and hands-on in every aspect of their care, from diaper
changes, to bottle washing, to baths, to doctor appointments. He read to them every single
night, and never missed an activity of theirs. His children adore him and have truly
suffered his absence.
       Justin is very involved in his church community. He has attended the same church
his entire life. He has participated in every aspect of being a church member and some of
his strongest lifelong bonds are with members of his church.
       I believe Justin is remorseful about the crimes he committed. I know how deeply
he hurts for the pain and devastation he caused his wife and children and family. I have
had many conversations with Justin where he has shared with me the amount of shame and
disgrace he feels about himself and his actions.




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Character Letter for J. Riggs Submitted by Linda Boring (Mother-In-Law)

       Justin’s 2 and ½ year incarceration has had a huge impact on Justin. From despair,
self loathing and depression, to ultimately growing and becoming a better person. He has
sought counseling, read self-help books, and become a productive member of the
Correctional facility. His incarceration has impacted his family tremendously. His wife had
to sell their home and move into a rental home. The children have suffered the most,
having their Father gone from their lives overnight and for the last 2 and ½ years.
Sincerely,

Linda Boring

Linda Boring




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May 19, 2025

Dear Honorable Stephanie A. Gallagher

I am writing this letter in support of Justin Riggs, whom I have known for twenty-plus years
through Grossnickle Church of the Brethren. I served as his Sunday School teacher and Board
Church during his tenure on the Grossnickle Church Trustees Commission. I have watched Justin
grow-up and his family grow-up through the church. During my time with Justin, I have come to
view him as a person of integrity and humility. Despite his serious mistakes, I believe in his
character and capacity for growth and change.

Justin has consistently demonstrated values such as honesty, responsibility, and compassion in
his everyday interactions. Even before this incident, he was known for his willingness to help
others. He volunteers numerous hours serving our woodcutting group (donates firewood to those
in need) and serving on the church's disaster response team that rebuilds houses for those
impacted by natural disasters. He always worked to instill the character of paying it forward to
his children and was involved in as many activities as possible. He ensured his children were in
Sunday School and worship virtually every Sunday. He worked to model the way for his
children. It was deeply out of character for him to be involved in any criminal activity, and he
has expressed to me, I believe, through his letters, a sense of remorse and regret for what
happened. He even spoke about helping others learn from his mistakes.

Justin has used this time not only to reflect on the consequences of his actions but also to better
himself. He has been actively engaged in church, cutting hair and beautifying the facility. He has
written about the pain he has caused others and his determination to make amends. His remorse
is genuine, and it is evident that this experience has had a lasting emotional and psychological
impact on him.

I believe Justin will not lose the weight of incarceration. He recognizes the trust he has broken
and is committed to rebuilding it through a life of accountability and service.

His past mistakes do not define Justin but by how he has responded to them. If given the
opportunity, he will continue on a path of positive change and contribute meaningfully to his
community.

Thank you for taking the time to consider my perspective on Justin's character. Please feel free to
contact me if I can provide any further information.

Sincerely,

Dr. Danny Rumpf
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